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                             UNITED STATES DISTRICT
                           COURT NORTHERN DISTRICT OF
                              OHIO EASTERN DIVISION



                       ,                 )     CASE NO.
                                         )
       Plaintiff(s),                     )     JUDGE CHRISTOPHER A. BOYKO
                                         )
       vs.                               )
                                         )
                       ,                 )
                                         )
       Defendant(s).                     )     REPORT OF PARTIES’ PLANNING
                                                MEETING UNDER FED. R. CIV.
                                                P. 26(f) AND L.R. 16.3(b)


       1. Pursuant to Fed. R. Civ. P. 26(f) and L.R. 16.3(b), a meeting was held on
_________________, 20___ , and was attended by:
__________________________counsel for plaintiff(s) _______________________
__________________________counsel for plaintiff(s)________________________
__________________________counsel for defendant(s)______________________
__________________________counsel for defendant(s)______________________
       2. The parties:
      ____ have exchanged the pre-discovery disclosures required by Rule26(a)(1) and
the Court's prior order;
       ____ will exchange such disclosures by_____________________ , 20___ ;
       ____ have not been required to make initial disclosures.
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     3. The parties recommend the following track:

     ___ Expedited ___ Standard ___ Complex ___ Administrative ___ Mass Tort


     4. Pursuant to Local Rule 5.1(c) all documents must be electronically filed absent
       a showing of good cause.
     5. This case is suitable for one or more of the following Alternative Dispute
     Resolution (ADR) mechanisms:
     _____ Early Neutral Evaluation ____ Mediation ____ Arbitration.
     _____ Case is not suitable for ADR at this time but may be after
     discovery. _____ Case is not suitable for ADR at any time.
     6. The parties ____ do/ ____ do not consent to the jurisdiction of the United
     States Magistrate Judge pursuant to 28 U.S.C. § 636(c).
     7. Recommended Discovery Plan:
     (a) Describe the subjects, nature and extent of discovery
     ______________________________________________________________
     ______________________________________________________________
     ____________________________________________________________:
     (b) Non-Expert discovery cut-off date:________________________________
     (c) Plaintiff’s expert report due date: ________________________________
     (d) Defendant’s expert report due date: ______________________________
     (e) Expert discovery cut-off date:   ________________________________
     8. Recommended cut-off date for amending the pleadings and/or adding
     additional parties: _________________________
     9. Recommended dispositive motion date: ____________________________
     10. Recommended date for a Settlement Conference:
     _____________________________
     11. Other matters for the attention of the Court:________________________
___________________________________________________________________
___________________________________________________________________.
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                        _____________________________________________
                        Attorney for Plaintiff(s)___________________________


                        _____________________________________________
                        Attorney for Plaintiff(s)___________________________


                        _____________________________________________
                        Attorney for Defendant(s)_________________________


                        _____________________________________________
                        Attorney for Defendant(s)_________________________
